     Case 2:18-cv-13235-AJT-DRG ECF No. 15 filed 02/20/19              PageID.83     Page 1 of 2

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN

JAMES GINDIN, et al.,
                                                      Case No. 18-13235
                Plaintiff(s),                         Honorable Arthur J. Tarnow
v.                                                    Senior U. S. District Judge

JEFF GLOVER AND ASSOCIATES,
INC., et al.,

           Defendant(s).
___________________________________/

                                      SCHEDULING ORDER

         IMPORTANT: You will receive no further notice of these dates, however they
         are available on CM/ECF through PACER.

                                             ORDER RE:
                1.   Scheduling discovery;
                2.   Setting date for filing of final pretrial order;
                3.   Setting date of final pretrial conference;
                4.   Setting tentative trial term;
                5.   Providing for content of final pretrial order and describing materials to
                     be prepared and to be made available to the Court and counsel.

1.       Jury    X         Non-Jury             Estimated length of trial: 5 days            .
2.       Names of all Witnesses, lay and expert, MUST BE EXCHANGED BY: 5/10/2019 .
3.       Facilitation/Mediation to be completed by: 10/25/2019.
4.       All Discovery must be completed by:          12/24/2019 .
         This Court will order no discovery to take place after that date. ALL DISCOVERY
         MOTIONS must be filed by:           11/22/2019 .
5.       Class Certification Motion filing cut-off date: 1/24/2020.
6.       Dispositive Motion filing cut-off date: 5/11/2020         .
7.       Date and time for Final Pretrial/Settlement Conference: 8/24/2020 at 2:30 p.m.
         Trial counsel and all persons necessary to make a final decision as to the terms of
         settlement must be present at this settlement conference (clients).

8.       Final Pretrial Order to be submitted to the Court by:     8/17/2020             .
     Case 2:18-cv-13235-AJT-DRG ECF No. 15 filed 02/20/19              PageID.84    Page 2 of 2

Scheduling Order continued


8. On the morning of trial, all counsel shall furnish the following:
      a.    A trial brief.

         b.     A list of all exhibits marked consecutively, as well as copies of all exhibits (to
                the extent possible) for use on the bench. All exhibits will be received prior to
                trial, except those where an objection is noted. With reference to those
                exhibits, they will be received during trial at the proper time.

         c.     In jury cases, any requests for voir dire and proposed jury instructions (jury
                instructions shall be provided by hard copy and on disk in WordPerfect or
                Microsoft Word).

                In non-jury cases, Proposed Findings of Fact and Conclusions of Law shall be
                submitted at the beginning of trial.

9.       Other matters: _____________________________________________.

10.      IT IS ORDERED that counsel for plaintiff(s) assume the responsibility for
         convening a conference for all parties to collaborate in the formulation of a short,
         concise pretrial order that is to be drafted by counsel for plaintiff(s), approved and
         signed by counsel for all parties, and submitted to the Court for approval and
         adoption. The order should provide for the signature of the Court, which when
         signed, will become an Order of the Court.


11. Tentative Trial Term:          September - November 2020



         To view Judge Tarnow’s pretrial and trial practice, see www.mied.uscourts.gov




                                                 2
